TREG TAYLOR
ATTORNEY GENERAL

Jessie M. Alloway
Christopher Orman
Assistant Attorneys General
Department of Law
1031 West 4th Avenue, Suite 200
Anchorage, AK 99501
Telephone: (907) 269-5232
Facsimile: (907) 276-3697
Email: jessie.alloway@alaska.gov
        christopher.orman@alaska.gov

Attorneys for the State of Alaska

                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 STATE OF ALASKA,

      Plaintiff,                             Civil Action No.: 3:23-cv-00007-SLG

 v.
                                             STATE OF ALASKA’S
 BRYAN NEWLAND, in his official              COMBINED OPPOSITION TO
 capacity as Assistant Secretary, Indian     CROSS-MOTIONS FOR
 Affairs, U.S. Department of the Interior;   SUMMARY JUDGMENT AND
 and U.S. DEPARTMENT OF THE                  REPLY IN SUPPORT OF
 INTERIOR,                                   MOTION FOR SUMMARY
                                             JUDGMENT
      Defendants, and

 CENTRAL COUNCIL OF THE TLINGIT
 & HAIDA INDIAN TRIBES OF
 ALASKA,

      Intervenor-Defendant.




         Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 1 of 44
                                             TABLE OF CONTENTS
INTRODUCTION.............................................................................................................. 8
ARGUMENT ................................................................................................................... 11
I.     Granting Alaska tribes territorial jurisdiction is a major question. ......................... 11
      A.      The State is making a major question doctrine argument, not an implied repeal
              argument. ......................................................................................................... 12
      B.      The circumstances of this case are like those in Brown & Williamson and
              Captain Gaston. ............................................................................................... 16
      C.      FLPMA did not disrupt Congress’ distinct regulatory scheme. ...................... 23
      D.      The major question doctrine applies to Alaska-specific issues.. ..................... 24
      E.      Granting tribes territorial jurisdiction is a decision with significant economic
              and political consequences. ............................................................................. 27
II.    ANCSA is unique and cannot be compared to other settlement acts. ..................... 33
III. Congress’ clarification that indigenous peoples of Alaska are “Indian” is not a
     standalone definition. ............................................................................................... 37
CONCLUSION ................................................................................................................ 43




State of Alaska v. Newland, et al.                                       Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                                     Page 2 of 44

           Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 2 of 44
                                         TABLE OF AUTHORITIES

Cases
Akiachak Native Community v. Salazar,
      935 F. Supp. 2d 195 (D.D.C. 2013) ...................................................................... 11
Akiachak Native Cmty. v. U.S. Dep’t of the Interior,
      827 F.3d 100 (D.C. Cir. 2016) .............................................................................. 11
Alaska v. Native Vill. of Venetie Tribal Gov’t,
      522 U.S. 520 (1998) .......................................................................................... 8, 17
Biden v. Nebraska,
      143 S. Ct. 2355 (2023) .......................................................................................... 13
Carcieri v. Kempthorne,
      497 F.3d 15 (1st Cir. 2007) ................................................................................... 34
Carcieri v. Salazar,
      555 U.S. 379 (2009) ............................................................................ 16, 34, 41, 42
Christensen v. Harris Cnty.,
       529 U.S. 576 (2000) .............................................................................................. 42
Connecticut ex rel. Blumenthal v. U.S. Dep’t of Interior,
     228 F.3d 82 (2d. Cir. 2000) ................................................................................... 36
County of Amador v. U.S. Dep’t of the Interior,
      872 F.3d 1012 (9th Cir. 2017)............................................................................... 40
FDA v. Brown & Williamson Tobacco Corp.,
      529 U.S. 120 (2000) ...................................................................... 12, 13, 15, 16, 23
FTC v. Bunte Bros., Inc.,
      312 U.S. 349 (1941) .............................................................................................. 26
John v. Baker,
       982 P.2d 738 (Alaska 1999) ........................................................................ 9, 18, 29
Kahawaiolaa v. Norton,
     386 F.3d 1271 (9th Cir. 2004)............................................................................... 38
Loper Bright Enters. v. Raimondo,
      No. 22-451 ............................................................................................................ 42
McDowell v. Alaska,
    785 P.2d 1 (Alaska 1989). ..................................................................................... 25
Metlakatla Indian Community v. Egan,
      369 U.S. 45 (1962) ................................................................................................ 39


State of Alaska v. Newland, et al.                                      Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                                    Page 3 of 44

          Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 3 of 44
Native Vill. of Eklutna v. U.S. Dep’t of the Interior,
       2021 WL 4306110 (D.D.C. Sept. 22, 2021) ................................... 9, 27, 28, 29, 30
Nat’l Cotton Council of Am. v. E.P.A.,
       553 F.3d 927 (6th Cir. 2009)................................................................................. 15
Nat’l Wildlife Fed’n v. Consumers Power Co.,
       862 F.2d 580 (6th Cir. 1988)................................................................................. 15
North Carolina Coastal Fisheries Reform Group v. Captain Gaston LLC,
      76 F.4th 291 (4th Cir. 2023) ......................................................... 12, 14, 15, 16, 26
People of S. Naknek v. Bristol Bay Borough,
       466 F. Supp. 870 (D. Alaska 1979) ....................................................................... 9
South Carolina v. Catawba Indian Tribe, Inc.,
      476 U.S. 498 (1986) .............................................................................................. 42
South Dakota v. U.S. Dep’t of Interior,
      423 F.3d 790 (8th Cir. 2005)................................................................................. 35
State of Alaska, Fish & Game v. Federal Subsistence Board, No. 3:20-cv-00195-SLG,
       2023 WL 7282538 (D. Alaska Nov. 3, 2023) ................................................. 24, 25
Sturgeon vs. Frost,
      577 U.S. 424 (2016) (Sturgeon I) ......................................................................... 26
Sturgeon vs. Frost,
      139 S. Ct. 1066 (2019) (Sturgeon II) .................................................................... 26
United States v. Atlantic Richfield Co,
      612 F.2d 1132 (9th Cir. 1980)............................................................................... 35
United States v. Booth,
      161 F. Supp. 269 (D. Alaska 1958)......................................................................... 9
United States v. Fausto,
      484 U.S. 439 (1988) .............................................................................................. 13
United States. v. Lara,
      541 U.S. 193 (2004) .............................................................................................. 10
United States v. Pelican,
      232 U.S. 442 (1914) ................................................................................................ 9
W. Virginia v. EPA,
      142 S. Ct. 2587 (2022) .................................................................. 10, 11, 12, 15, 26
Yellen v. Confederated Tribes of the Chehalis Rsrv.,
       141 S. Ct. 2434 (2021) .................................................................................... 26, 39




State of Alaska v. Newland, et al.                                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                                 Page 4 of 44

          Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 4 of 44
Federal Statutes
5 U.S.C. § 706(2) ............................................................................................................. 10
16 U.S.C. § 1601(a).......................................................................................................... 34
16 U.S.C. § 1856(a).......................................................................................................... 15
18 U.S.C. § 1151 .................................................................................................... 9, 20, 21
18 U.S.C. § 2265 note ...................................................................................................... 21
25 U.S.C. § 465 (now 25 U.S.C. § 5108)................................................................... 19, 41
25 U.S.C. §§ 1701-16 ....................................................................................................... 33
25 U.S.C. § 1705(a)(2) ..................................................................................................... 34
25 U.S.C. § 1712(a)(2) ..................................................................................................... 34
25 U.S.C. §§ 1751-60 ....................................................................................................... 36
25 U.S.C. § 2701 et seq. ................................................................................................... 28
25 U.S.C. § 2703(4) ......................................................................................................... 28
25 U.S.C. § 5105 .............................................................................................................. 35
25 U.S.C. § 5108 ........................................................................................................ 19, 41
25 U.S.C. § 5129 .............................................................................................................. 37
33 U.S.C. § 1331(a).......................................................................................................... 15
33 U.S.C. § 1362(6) ......................................................................................................... 15
42 U.S.C. § 300j-11.......................................................................................................... 27
42 U.S.C. § 7601(d) ......................................................................................................... 27
43 U.S.C. § 1601(b) ..................................................................................................... 8, 17
43 U.S.C. § 1603 .................................................................................................. 17, 34, 36
43 U.S.C. § 1618 .......................................................................................................... 8, 17
43 U.S.C. § 1629e ............................................................................................................ 20

Federal Regulation
25 C.F.R. § 502.12(b)....................................................................................................... 28

Other Authorities
Administration for Native Americans, “American Indians and Alaska Natives – By the
     Numbers,” available at: https://www.acf.hhs.gov/ana/fact-sheet/american-indians-
     and-alaska-natives-numbers .................................................................................. 32


State of Alaska v. Newland, et al.                                       Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                                     Page 5 of 44

          Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 5 of 44
Alaska Native Claims Settlement Act Amendments of 1987, Sen. Rpt. 100-201, 1987
      U.S.C.C.A.N. 3269, 3291 (October 20, 1987) ...................................................... 20
Alaska Tribal Public Safety Empowerment Act, Pub. L. No. 117-103,
      subtit. B., §§ 811-13, 136 Stat. 49, 904-10 (2022) ................................... 10, 17, 21
BIA.gov, “What is a federal Indian reservation?;” available at:
      https://www.bia.gov/faqs/what-federal-indian-
      reservation#:~:text=There%20are%20approximately%20326%20Indian,%2C%2
      0communities%2C%20etc .................................................................................... 32
Final Rule, Land Acquisitions, 45 Fed. Reg. 62-34 (Sept. 18, 1980) .............................. 18
Hearing before Committee on Interior and Insular Affairs, House of Representatives,
      Ninety-Ninth Congress, H.R. 4162, April 17, 1986, Serial No. 99-76, p. 216 (U.S.
      Gov. Printing Ofc. 1987), available at
      https://www.google.com/books/edition/Alaska_Native_Claims_Settlement_Act/R
      9h1cE_Jb2MC?hl=en&gbpv=0 ................................................................ 18, 19, 20
House Explanatory Statement to P.L. 100-241,
      1987 U.S.C.C.A.N. 3299, 3307, 1987 WL 61520 (December 21, 1987) ............. 20
In the Matter of: Appeal of Chairman’s August 19, 2020 Disapproval of Amendment to
       Gaming Ordinance of the Central Council of Tlingit and Haida Indian Tribes of
       Alaska, Final Decision and Order, February 25, 2021 (NIGC Decision), available
       at: https://www.nigc.gov/images/uploads/final-
       decisions/NIGCCommissionDecisionCCTHITA2252021.pdf............. 9, 28, 29, 30
Indian Entities Recognized by and Eligible to Receive Services from the United States
       Bureau of Indian Affairs, 88 Fed. Reg. 2115-16 (January 12, 2023) ................... 32
LEGISLATIVE HISTORY OF THE FEDERAL LAND POLICY AND MANAGEMENT ACT OF
      1976 (PUBLIC LAW 94-579), Senate Committee on Energy and Natural
      Resources, Memorandum of the Chairman, Senator Henry Jackson, vi (1978) ... 23
Mashantucket Pequot Indian Claims Settlement Act, 97 Stat. 851 (Oct. 18, 1983) ........ 36
Pub. L. No. 100–241 § 17(a)(2), 101 Stat. 1788, 1814 (Feb. 3, 1988) ............................ 20
Pub. L. No. 100-497, 102 Stat. 2467 (1988) .................................................................... 28
Rhode Island Indian Claims Settlement Act, 92 Stat. 813 (Sept. 30, 1978) .................... 33
S. Rep. 1080, 73d Cong. 2d Sess. (May 10, 1934) .......................................................... 40
S. 1474 Repeal of Special Rule for State of Alaska,
      Section 910 of the Violence Against Women Reauthorization Act of 2013 ........ 21
Scherer, K., Alaska’s Tribal Trust Lands: A Forgotten History,
      38 Alaska L. Rev. 37 (2021) ................................................................................. 31



State of Alaska v. Newland, et al.                                Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                              Page 6 of 44

         Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 6 of 44
State of Montana, “The Seven Indian Reservations of Montana,” available at:
       https://opi.mt.gov/Portals/182/Page%20Files/Indian%20Education/Social%20Stu
       dies/3-5/Seven%20Reservations%20-%20G3.pdf................................................ 32
State of Washington, “Washington Tribes,” available at:
       https://www.ltgov.wa.gov/washington-
       tribes#:~:text=Washington%20counts%2029%20federally%20recognized,on%20
       reservations%20throughout%20the%20state. ...................................................... 32
Violence Against Women Reauthorization Act of 2013 (VAWA 2013),
      Pub. L. No. 113-4, 127 Stat. 54 (2013) ............................................... 16, 20, 21, 22
Violence Against Women Act Reauthorization Act of 2022 (VAWA 2022),
      Pub. L. No. 117-103, 136 Stat. 49 (2022) ........................................... 16, 17, 21, 33




State of Alaska v. Newland, et al.                          Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                        Page 7 of 44

        Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 7 of 44
                                     INTRODUCTION

       For over a century, the Federal government left unresolved Alaska Native land

claims and Alaska tribes’ claims for territorial jurisdiction. When circumstances forced

action, it took years of negotiations, public debate, and congressional hearings before

Congress ultimately reached a resolution. Once the dust settled, Congress had preserved

Alaska tribes as sovereign entities, but left them with no territorial reach. 1

       Now frustrated by Congress’ resolution of these issues, Interior and the Tribe

seek to redraw Alaska’s jurisdictional map. They claim that, despite having just enacted

one of the most complicated pieces of legislation,2 Congress left the Secretary of the

Interior with unfettered authority to grant Alaska tribes territorial jurisdiction by taking

lands into trust and to declare those lands as reservations. If they are correct, the day

after Congress revoked all but one reservation in Alaska and declared that it wanted to

move forward “without creating a reservation system or lengthy wardship or

trusteeship,” the Secretary could have done the exact opposite and relied on the Alaska

IRA to create more reservations. 3 This defies logic.

       In any state, the authority to create territorial jurisdiction where none exists would

be a major question. Even more so in Alaska, considering its history. [See State’s Br. at



1
       Alaska v. Native Vill. of Venetie Tribal Gov’t, 522 U.S. 520, 526 (1998).
2
        As Congressman Udall reflected after ANCSA’s passage: “[i]f we serve here
another 20 years, I do not think we will ever deal with a more complicated piece of
legislation.” [AR 1002 n.209]
3
       See 43 U.S.C. § 1601(b); 43 U.S.C. § 1618.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 8 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 8 of 44
13-33]4 Attempts by Interior and the Tribe to downplay the significance of the agency’s

action are inaccurate at best and misleading at worst. Although there are 4 to 6 million

acres of restricted allotments and Native townsites in Alaska that individuals (not tribes)

hold, it is unlikely those could be considered “Indian country” for federal criminal

jurisdiction purposes (18 U.S.C. § 1151(c)) because Alaskan tribes do not have

territorial jurisdiction over these lands. 5 [See Interior’s Br., at 17] And even if these

allotments could be considered Indian country for certain purposes, they do not create

territorial jurisdiction for tribes. This is why Congress recently took action to grant

Alaska tribes special domestic violence criminal jurisdiction; it did not superfluously



4
         When referencing the pleadings, the State cites the page number of the pleading
itself, not the page number provided by ECF.
5
        The definition of “Indian country” in the Major Crimes Act is based on a case
about allotments formed from reservations. See United States v. Pelican, 232 U.S. 442
(1914). Allotments under Alaska’s Native Allotment Act were not formed from
reservations. It is therefore questionable whether these allotments could be considered
“Indian country” under 18 U.S.C. § 1151(c). See Native Vill. of Eklutna v. U.S. Dep’t of
the Interior, 2021 WL 4306110, at *1 (D.D.C. Sept. 22, 2021); In the Matter of: Appeal
of Chairman’s August 19, 2020 Disapproval of Amendment to Gaming Ordinance of the
Central Council of Tlingit and Haida Indian Tribes of Alaska, Final Decision and Order,
February 25, 2021 (NIGC Decision), available at:
https://www.nigc.gov/images/uploads/final-
decisions/NIGCCommissionDecisionCCTHITA2252021.pdf (accessed on
November 20, 2023); John v. Baker, 982 P.2d 738, 750 (Alaska 1999) (“Unlike most
other tribes, Alaska Native villages occupy no reservations and for the most part possess
no Indian country.”); People of S. Naknek v. Bristol Bay Borough, 466 F. Supp. 870, 876
(D. Alaska 1979) (discussing “conflicting decisions relating to what is ‘Indian country’
in Alaska, the historical differences present in Federal policy toward Alaskan Natives,
and the doctrinal confusion caused by one of the principal Indian jurisdictional cases that
has emerged from Alaska”); United States v. Booth, 161 F. Supp. 269, 273 (D. Alaska
1958) (“Subsection (c) pertains to allotments, which is a word of art, applying to the
General Allotment Act.”).

State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                  Page 9 of 44

        Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 9 of 44
affirm tribal territorial jurisdiction that already exists.6 [See Tribe’s Br. at 9 & n.33] This

demonstrates that Congress knows Alaska tribes lack territorial jurisdiction and has

acted to expand that jurisdiction when it deems fit using something it is not willing to

call “Indian country.” The Assistant Secretary does not have this Congressional

authority.

       Redrawing Alaska’s jurisdictional map is a major question that requires clear

congressional authority.7 The Tribe claims that “history has witnessed a success of

different congressional approaches to Alaska Native land tenure” and that “the

Secretary’s action on review here falls comfortably within that long, rich, and diverse

tradition.” [Tribe’s Br., at 1] But the Secretary is not Congress, and it is Congress that

must react to “perceived needs and changing policies.” 8 [See id.] What’s more, even

prior to ANCSA, the Secretary’s authority under the IRA was much more limited than

she now claims. Because the Secretary does not have clear authority to redraw

jurisdictional maps, the Assistant Secretary acted outside the scope of his authority and

abused his discretion.9




6
      Alaska Tribal Public Safety Empowerment Act, Pub. L. No. 117-103, subtit. B.,
§§ 811-13, 136 Stat. 49, 904-10 (2022).
7
       See W. Virginia v. EPA, 142 S. Ct. 2587, 2610 (2022).
8
       See United States. v. Lara, 541 U.S. 193, 200 (2004).
9
       5 U.S.C. § 706(2).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 10 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 10 of 44
                                        ARGUMENT

I.     Granting Alaska tribes territorial jurisdiction is a major question.

       The major question doctrine applies to those cases “in which the history and

breadth of the authority that the agency has asserted, and the economic and political

significance of that assertion, provide a reason to hesitate before concluding that

Congress meant to confer such authority.” 10 The doctrine is not new; cases raising major

questions “have arisen from all corners of the administrative state.” 11 Yet only recently

has the Supreme Court recognized it to be a “distinct” doctrine; one that exists outside of

the routine statutory interpretation analysis. 12

       Interior and the Tribe argue against the major question doctrine in two ways.

First, they attempt to turn back the clock to relitigate the parties’ arguments in Akiachak

Native Community v. Salazar as if the major question doctrine does not exist. 13 Interior

goes so far as to reference the State’s argument from Akiachak as if the State is making

the same argument again here. [See Interior Br., at 10-11] It is not. Second, Interior and

the Tribe argue the major question doctrine does not apply because the agency’s


10
       W. Virginia, 142 S. Ct. at 2608 (cleaned up).
11
       Id.
12
       Id.
13
       935 F. Supp. 2d 195 (D.D.C. March 31, 2013). The district court concluded that
ANCSA did not impliedly repeal the IRA, but the D.C. Circuit vacated the district
court’s decision because it became moot on appeal when Interior changed its regulation.
Akiachak Native Cmty. v. U.S. Dep’t of the Interior, 827 F.3d 100, 115 (D.C. Cir. 2016).
Notably, the D.C. Circuit explained that it was without jurisdiction to provide an
advisory opinion, but that the State could raise its claims “if and when Interior attempts
to take any land into trust in Alaska.” Id. at 113.

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 11 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 11 of 44
decision, although “undeniably important to the parties,” is not important enough

economically or politically. [Interior’s Br., at 42-43] They are wrong.

       A.     The State is making a major question doctrine argument, not an
              implied repeal argument.

       Implied repeal is not the only doctrine courts apply when later enacted statutes

create tension with earlier granted delegations. Another consideration is the major

question doctrine. Two cases illustrate this: the Supreme Court’s decision in FDA v.

Brown & Williamson Tobacco Corp. 14 and the Fourth Circuit’s decision in North

Carolina Coastal Fisheries Reform Group v. Captain Gaston LLC.15

       In Brown & Williamson, the Supreme Court reaffirmed the need to consider

context when interpreting statutes. Context includes reading a provision with a view of

its place in the overall statutory structure. 16 And the overall statutory structure includes

the Act at issue and any legislative action taken after the initial enactment, “particularly

where Congress has spoken subsequently and more specifically to the topic at hand.” 17

“[T]he ‘classic judicial task of reconciling many laws enacted over time, and getting

them to ‘make sense’ in combination, necessarily assumes that the implications of a



14
       529 U.S. 120 (2000).
15
       76 F.4th 291 (4th Cir. 2023).
16
       Brown & Williamson, 529 U.S. at 133.
17
        Id.; see also W. Virginia, 142 S. Ct. at 2607-08 (“Where the statute at issue is one
that confers authority upon an administrative agency, that inquiry must be ‘shaped, at
least in some measure, by the nature of the question presented’—whether Congress in
fact meant to confer the power the agency has asserted” (quoting Brown & Williamson,
529 U.S. at 159)).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 12 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 12 of 44
statute may be altered by the implications of a later statute.’ ” 18 “Making sense” of a

statute also requires the court to apply its own common sense. 19 Courts cannot forget

that “a specific policy embodied in a later federal statute should control over [its]

construction of the earlier statute, even though it has not been expressly amended.” 20

       Applying these principles, the Supreme Court in Brown & Williamson concluded

that the Food, Drug, and Cosmetic Act did not grant the Food and Drug Administration

(FDA) the authority to regulate tobacco products, although that was a “plausible

meaning” of the statute when it was first enacted.21 Among the circumstances it

considered, the Court found it significant that from 1965—after the Surgeon General

documented the health effects of smoking—until 1996—when the agency issued its new

regulations—the FDA had claimed it did not have jurisdiction over tobacco. 22 The Court

also found it significant that during that 30-year stretch, Congress had enacted six

separate pieces of legislation that addressed the problem of tobacco use and human


18
       Brown & Williamson 529 U.S. at 143 (quoting United States v. Fausto, 484 U.S.
439, 453 (1988)).
19
        Id. at 133 (“[W]e must be guided to a degree by common sense as to the manner
in which Congress is likely to delegate a policy decision of such economic and political
magnitude to an administrative agency.”); see also W. Virginia, 142 S. Ct. at 2609
(relying on cases where, “given the various circumstances, common sense as to the
manner in which Congress would have been likely to delegate such power to the agency
at issue made it very unlikely that Congress had actually done so” (cleaned up)); Biden
v. Nebraska, 143 S. Ct. 2355, 2379 (2023) (Barrett, J., concurring) (“Context also
includes common sense, which is another thing that ‘goes without saying.’ ”).
20
       Id. at 143 (cleaned up) (alteration added).
21
       Id.
22
       Id.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 13 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 13 of 44
health.23 And Congress had also considered and rejected bills that would have granted

the FDA the jurisdiction it later claimed existed all along. 24

       Of note for this case, the issue in Brown & Williamson was not whether those six

pieces of legislation implicitly repealed the statutory grant of authority in the Food,

Drug, and Cosmetic Act. Instead, in analyzing the authority granted by the statutory

provision, the Court looked at the agency’s original position regarding its authority and

the later enacted legislation. “Under th[e] circumstances, it [wa]s evident that Congress’

tobacco-specific statutes [] effectively ratified the FDA’s long-held position that it

lack[ed] jurisdiction under the FDCA to regulate tobacco products.” 25 Congress had, the

Court held, “created a distinct regulatory scheme to address the problem of tobacco and

health, and that scheme, as presently constructed, preclude[d] any role for the FDA.” 26

       The Fourth Circuit’s decision in Captain Gaston follows a similar analysis and

does not discuss the implied repeal doctrine. Relevant here, a Fisheries Reform Group

argued that shrimp trawlers were violating the Clean Water Act by throwing bycatch

back into the Pamlico Sound.27 The group claimed that the trawlers must obtain a permit

from the EPA to discharge a “pollutant”—the bycatch—into a water of the United

States—the Pamlico Sound because the Act defines “pollutant” to include “biological


23
       Id.
24
       Id. at 143-44.
25
       Id. at 144.
26
       Id.
27
       76 F.4th at 295.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 14 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 14 of 44
materials.”28 Although the Fourth Circuit believed the argument was plausible—and

even supported by out of circuit precedent—it still concluded that regulating bycatch

was outside of the EPA’s authority. 29

        A significant factor in the court’s contextual analysis was legislative actions

Congress took after it had enacted the Clean Water Act. 30 Four years after it passed the

Act, Congress enacted the Magnuson-Stevens Act of 1976. “Under th[e] Act, Congress

maintained the states’ primary authority over state waters like Pamilco Sound.”31 And

even in federal waters, Congress delegated the job of managing fisheries to the National

Marine Fisheries Service and Regional Fishery Management Councils, not the EPA. 32

Relying on Brown & Williamson, the court concluded that the Magnuson-Stevens Act

was a “distinct regulatory scheme” with a policy goal of protecting the state-federal

balance.33 As such, the Fourth Circuit held that it “should expect clear authorization

from Congress before finding that [the Magnuson-Stevens Act] was effectively

displaced by the Clean Water Act.” 34



28
        33 U.S.C. § 1331(a) & 33 U.S.C. § 1362(6).
29
       Capt. Gaston LLC, 76 F.4th at 295-96 & n.4 (citing Nat’l Cotton Council of Am.
v. E.P.A., 553 F.3d 927, 937-38 (6th Cir. 2009); Nat’l Wildlife Fed’n v. Consumers
Power Co., 862 F.2d 580, 583 (6th Cir. 1988)).
30
        Id. at 297 (citing Brown & Williamson, 529 U.S. at 143-46).
31
        Id. (discussing 16 U.S.C. § 1856(a)).
32
        Id. at 298.
33
        Id.
34
        Id. (citing W. Virginia, 142 S. Ct. at 2612-13; Brown & Williamson, 529 U.S. at
144).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 15 of 44

        Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 15 of 44
       The second factor the court considered significant was the EPA’s longstanding

belief that it lacked this authority.35 Citing the Supreme Court’s decision in West

Virginia v. EPA, the Fourth Circuit found that “[t]he EPA’s own lack of confidence that

it ha[d] this authority also suggest[ed] that this is a major-questions case.” 36

       The State is not arguing that Congress implicitly repealed the Alaska IRA. It is

arguing that context matters, and the Court must view the Secretary’s authority under

section 5 in light of Congress’ subsequent actions, which, but for ANCSA, were taken

against the backdrop of the agency saying it lacked this authority.

       B.      The circumstances of this case are like those in Brown & Williamson
               and Captain Gaston.

       Assume for the moment that the Alaska IRA, when originally enacted, granted

Interior the authority to take the Tribe’s land into trust. 37 Like the statutes at issue in

Brown & Williamson and Captain Gaston, Congress passed multiple bills after that

shape how we interpret the Alaska IRA. Congress addressed Alaska Native land claims

and/or Alaska tribes’ territorial jurisdiction in ANCSA, the 1991 ANCSA amendments,

the Violence Against Women Reauthorization Act of 2013 (VAWA 2013), 38 and the



35
       Id. at 299 (“Given this balance under the existing regulatory scheme, it is
unsurprising that the EPA has never sought the authority to regulate bycatch in the fifty
years since the Clean Water Act passed.”).
36
       Id.
37
       This also assumes that the Court disagrees with the State’s interpretation of
“Indian” found in the IRA or its argument that the Supreme Court’s decision in Carcieri
v. Salazar, 555 U.S. 379 (2009) applies to Alaska tribes.
38
       Pub. L. No. 113-4, 127 Stat. 54 (2013).

State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 16 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 16 of 44
Violence Against Women Act Reauthorization Act of 2022 (VAWA 2022). 39 And while

each of these actions were pending, Interior either claimed it did not have section 5

authority in Alaska (except as it applied to Metlakatla) or it seriously questioned whether

that authority existed.40

       Through each of these post-Alaska IRA enactments, Congress created a “distinct

regulatory scheme” to address territorial jurisdiction in Alaska. The most impactful of

the bills was ANCSA. Through this legislation, “Congress sought to end the sort of

federal supervision over Indian affairs that had previously marked federal Indian

policy.”41 It declared a policy to avoid “‘creating a reservation system or lengthy

wardship or trusteeship.’”42 “To this end, ANCSA revoked ‘the various reserves set

aside . . . for Native use’ by legislative or Executive action, except for the Annette Island

Reserve inhabited by the Metlakatla Indians, and completely extinguished all aboriginal

claims to Alaska land.”43 And since ANCSA’s passage, the consensus among the courts,



39
       Pub. L. No. 117-103, 136 Stat. 49 (2022).
40
      Congress signed the Consolidated Appropriation Act of 2022, which included
VAWA 2022, into law on March 15, 2022. Solicitor Anderson issued the latest Solicitor
Opinion addressing the Secretary’s lands into trust authority on November 16, 2022.
[AR 32]
41
       Venetie, 522 U.S. at 523-24.
42
       Id. (quoting 43 U.S.C. § 1601(b)).
43
       Id. (quoting 43 U.S.C. §§ 1603, 1618(a)). Interior argues that the State has failed
to identify any “substantive provision” of ANCSA that conflicts with the lands into trust
authority granted by the Alaska IRA. That is simply not true; these provisions are
“substantive provisions.” See 43 U.S.C. § 1618 (revoking all reservations and
discontinuing individual allotments); see also id. (allowing Alaska tribes to take


State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 17 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 17 of 44
the State, and the federal government—although perhaps not the tribes—was that

Congress had preserved Alaska tribes as sovereigns, but “sovereigns without territorial

reach.”44

       The next time Congress considered restoring Alaska tribes’ territorial jurisdiction

was during hearings on the 1991 Amendments. Congress considered these amendments

knowing that Interior took the position that it did not have the authority to take lands

into trust and had adopted a regulation mirroring that understanding. 45

       Alaska Native leaders asked Congress to amend ANCSA. 46 Of relevance here,

Willie Kasayulie, the Chairman of the Alaska Native Coalition, offered a series of

amendments to H.R. 4162, one of the early bills considered by Congress. 47 Those

amendments were drafted in 1985 by a working group of attorneys “familiar with the




reservation land in fee but not giving tribes a choice to keep their reservation land as a
reservation).
44
      Id. (internal quotations omitted) (emphasis added); see also John v. Baker,
982 P.2d 738, 750 (Alaska 1999) (“Unlike most other tribes, Alaska Native villages
occupy no reservations and for the most part possess no Indian country.”).
45
       Final Rule, Land Acquisitions, 45 Fed. Reg. 62-34 (Sept. 18, 1980) (saying that
the land-into-trust regulations prohibited consideration of any trust acquisitions in
Alaska, “except acquisitions for the Metlakatla Indian Community of the Annette Island
Reserve or its Members”).
46
        Hearing before Committee on Interior and Insular Affairs, House of
Representatives, Ninety-Ninth Congress, H.R. 4162, April 17, 1986, Serial No. 99-76, p.
216 (U.S. Gov. Printing Ofc. 1987), available at
https://www.google.com/books/edition/Alaska_Native_Claims_Settlement_Act/R9h1cE
_Jb2MC?hl=en&gbpv=0
47
       Id. at 157-78.

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 18 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 18 of 44
Alaska Native Claims Settlement Act and Indian Law issues.” 48 Among the attorneys

appointed to that working group were Robert Anderson—the current Solicitor for

Interior and author of the Solicitor Opinion on which the Assistant Secretary relies [See

AR 32-67]—and Lloyd Miller—counsel for the Tribe and author of the Tribe’s

consolidated cross-motion and opposition. [See Dkt. 21]

       If passed, the amendments authored by Mr. Anderson and Mr. Miller would have

granted Interior the same authority that Interior and the Tribe now claim the agency has

had all along. For instance, the legislation sought to address the State’s argument that

“the passage of ANCSA somehow terminated or at least greatly reduced the

Governmental power of Alaska Native Tribes.”49 To fix ANCSA’s extinguishment of

territorial jurisdiction, they proposed adding a provision that provided ANSCA “was not

intended to enlarge, diminish or in any way affect the scope of any government power of

Alaska Native Tribes.50 They also sought to address Interior’s position “that ANCSA

revoked the Secretary’s authority to accept Alaska Native Land into trust.” 51 To

accomplish this, they proposed amendments to section 5 of the IRA. 52 The amendment




48
       Id. at 212. Compare the amendments offered by Mr. Kasayulie, id. at 159-78,
with the draft legislation prepared by the working group, id. at 214-29.
49
       Id. at 216.
50
       Id. at 215-16.
51
       Id.
52
       Id.

State of Alaska v. Newland, et al.                 Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                              Page 19 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 19 of 44
to section 5 would extend the Secretary’s authority to “any state.” 53 Specifically, the

proposal would have amended 25 U.S.C. § 465 (now 25 U.S.C. § 5108) so it read:

       The Secretary of the Interior is hereby authorized, in his discretion, to
       acquire, through purchase, relinquishment, gift, exchange or assignment,
       any interest in lands, water rights or surface rights to lands, within or
       without existing reservations, including any lands or such rights within
       any state and any trust or otherwise restricted allotments, whether the
       allottee be living or deceased, for the purpose of providing land for
       Indians.54

       As explained in the State’s opening brief, Congress did not pass the legislation

drafted by Mr. Anderson and Mr. Miller; instead it amended ANCSA to allow Native

corporations to place land into trust under state law. 55 [See State’s Br., at 30-32]

Regarding the territorial jurisdiction issues, the bill included a disclaimer that nothing

within the Act was to validate or invalidate “[a]ny assertion that Indian country (as

defined by 18 U.S.C. § 1151 or any other authority) exists or does not exist within the

boundaries of the State of Alaska.”56

       After the 1991 Amendments, the next significant legislative action taken on

territorial jurisdiction in Alaska occurred during the reauthorization of the Violence

Against Women Act in 2013 and 2022. VAWA 2013 included a historic provision that



53
       Id.
54
       Id. at 217.
55
      43 U.S.C. § 1629e; House Explanatory Statement to P.L. 100-241, 1987
U.S.C.C.A.N. 3299, 3307, 1987 WL 61520 (December 21, 1987).
56
      Pub. L. No. 100–241 § 17(a)(2), 101 Stat. 1788, 1814 (Feb. 3, 1988); see also
Alaska Native Claims Settlement Act Amendments of 1987, Sen. Rpt. 100-201, 1987
U.S.C.C.A.N. 3269, 3291 (October 20, 1987).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 20 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 20 of 44
recognized the inherent authority of “participating Tribes” to exercise “special domestic

violence criminal jurisdiction” over certain defendants, regardless of their Indian status,

who commit acts of domestic violence or dating violence in Indian country.57 As

originally passed, VAWA 2013 contained a “Special Rule for the State of Alaska”

providing that the special tribal jurisdiction would “only apply to the Indian country (as

defined in section 1151 of title 18, United States Code) of the Metlakatla Indian

Community, Annette Island Reserve.” 58 The special rule was subsequently repealed, 59

but that repeal had little impact in Alaska because VAWA applied only in Indian

country and Alaska has almost no Indian country.

       When Congress passed VAWA 2022, it passed the Alaska Tribal Public Safety

Empowerment Act to grant Alaska tribes’ the benefits of the 2013 legislation. 60 One of

the purposes of this Act was to “empower Tribes” to effectively respond to cases of

domestic violence and other related crimes “through the exercise of special Tribal

criminal jurisdiction.”61 The amendment recognized and affirmed Alaskan tribes’

inherent authority over Indians in the village. 62 It also granted and extended tribal



57
       Pub. L. No. 113-4, § 904 127 Stat. 54 (2013).
58
       Id. § 910.
59
      S. 1474 Repeal of Special Rule for State of Alaska, Section 910 of the Violence
Against Women Reauthorization Act of 2013 (18 U.S.C. 2265 note; Public Law 113-4).
60
      Alaska Tribal Public Safety Empowerment Act, Pub. L. No. 117-103, subtit. B.,
§§ 811-13, 136 Stat. 49, 904-10 (2022).
61
       Id. § 811(b)(2).
62
       Id. § 813(a).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 21 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 21 of 44
authority over non-Indians in two ways. First, it granted tribes civil jurisdiction to issue

and enforce protection orders against any person in matters arising within the Village or

otherwise within the authority of the Indian tribe. 63 Second, it created a limited criminal

jurisdiction for some tribes, based on the theory that tribes have authority over an Indian

victim or an Indian perpetrator.64 Congress did not use the term “Indian country” in

creating this new tribal jurisdiction because of the lack of Indian country and territorial

jurisdiction in Alaska. Rather, it granted tribes territorial jurisdiction coterminous with

their villages.65

       Context matters, and this Court must not leave its common sense at the courtroom

door. Even assuming the Secretary may have had the authority to take lands into trust,

create reservations, and give tribes territorial jurisdiction in 1936 when Congress first

passed the Alaska IRA—which the State disputes—it does not have that authority now.

The Court must consider how the Secretary initially used this authority, Congress’

legislative acts since the Alaska IRA’s enactment, and the agency’s long-held position

that it lacked the authority it now claims to have. When it adopted the 1991 ANCSA

amendments, Congress acted against the backdrop of Interior’s consistent position that it

lacked authority to take lands into trust in Alaska. When it passed VAWA 2013 and


63
       Id. § 813(b).
64
       Id. § 813(d).
65
       A “Village” is defined to mean the “Alaska Native Village Statistical Area
covering all or any portion of a Native village” (as defined in [ANCSA]), and depicted
on the applicable Tribal Statistical Area Program Verification map of the Bureau of the
Census.” Id. § 812(7).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 22 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 22 of 44
VAWA 2022, Congress understood Interior’s longstanding position and the controversy

that the agency’s new position was creating. Congress enacted legislation that granted

Alaska tribes limited forms of jurisdiction while recognizing that Alaska tribes have

something different than the “Indian country” that currently exists in the Lower 48.

       The answer is not to ignore this history. As the Supreme Court held in Brown &

Williamson under similar circumstances, this context compels a finding that Congress

has “effectively ratified” Interior’s long-held position that it lacks authority to take lands

into trust for tribes in Alaska. Through its post-Alaska IRA enactments, Congress has

created a “distinct regulatory scheme” to address territorial jurisdiction, and that scheme,

as presently constructed, precludes the Secretary from exercising her lands into trust

authority for any Alaska tribe other than Metlakatla. 66

       C.     FLPMA did not disrupt Congress’ distinct regulatory scheme.

       Interior and the Tribe argue that FLPMA’s partial repeal of the Alaska IRA

evinces Congress’ intent to leave the lands into trust authority intact. [Interior’s Br., at

14; Tribe’s Br., at 17] This misreads FLPMA’s purpose and misunderstands the major

question’s clear statement rule.

       Congress enacted FLPMA to consolidate the executive’s authority to withdraw

and manage public lands. It has nothing to do with the Secretary’s authority to dispose

of private lands. FLPMA was a “landmark achievement” because, in “one law,” it


66
       The three parcels of land held in trust by the Federal government in Southeast
Alaska—totaling approximately 32 acres—and the extent to which tribes hold territorial
jurisdiction over those parcels are not at issue in this litigation.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 23 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 23 of 44
provide[d] comprehensive authority and guidelines for the administration and protection

of [] Federal lands.”67 Congress “repeal[ed] many obsolete public land laws” that

hindered effective land management.68 Section 704(a) of FLPMA specifically repealed

“the implied authority” of the President to withdraw lands and create reservations, and

also repealed “all identified withdrawal authority granted to the President or the

Secretary of the Interior.” [AR 1540] This repeal included section 2 of the Alaska IRA.

[AR 1540]

       The repeal of section 2 of the Alaska IRA had no bearing on whether the

Secretary had the authority to take privately held fee land into trust. It was included in a

list of many other statutes relating to federal public lands that were repealed. The fact

that Congress did not mention the Secretary’s authority to take private land into trust in

a bill entirely focused on federal public land is hardly a clear statement from Congress

that the Secretary’s authority to place Alaska tribes’ lands into trust and declare

reservations survived ANCSA. After all, when fee lands are taken into trust, they do not

become public lands.

       D.     The major question doctrine applies to Alaska-specific issues.

       Interior and the Tribe attempt to dissuade the Court from applying the major

question doctrine by suggesting that it applies only to issues of nationwide importance.



67
      LEGISLATIVE HISTORY OF THE FEDERAL LAND POLICY AND MANAGEMENT ACT
OF 1976 (PUBLIC LAW 94-579), Senate Committee on Energy and Natural Resources,
Memorandum of the Chairman, Senator Henry Jackson, vi (1978).
68
       Id.

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 24 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 24 of 44
[See Interior’s Br., at 36-37; Tribe’s Br., at 12-13] The State acknowledges this Court’s

holding in State of Alaska, Fish & Game v. Federal Subsistence Board, where it rejected

the State’s argument that the doctrine applied to the Federal Subsistence Board’s claim

of authority to open an emergency hunt on federal land for rural subsistence users

because the regulations did not “impact[] millions of people nationwide” and because

the Board “has no authority in any other state besides Alaska.” 69

          The circumstances here are distinguishable. There, the State sought to challenge

the Board’s authority to open, on federal land, emergency rural subsistence hunts. 70 The

State acknowledged that Congress, through Title VIII of the Alaska National Interest

Lands Conservation Act, had granted a subsistence priority, but it argued that the

priority applied only to restrict a taking and that the Board did not have the authority to

open a hunt for rural residents.71 Complicating the issue was the fact that Congress had

anticipated that the State would assume management of the subsistence program—and

the State clearly has the authority to open hunts—but the Alaska Supreme Court’s

decision in McDowell v. Alaska72 has so far prevented the State from assuming that

role.73




69
          No. 3:20-cv-00195-SLG, 2023 WL 7282538, at *8 (D. Alaska Nov. 3, 2023).
70
          Id. at *5.
71
          Id. at *8.
72
          785 P.2d 1 (Alaska 1989).
73
          Federal Subsistence Board, 2023 WL 7282538, at *2–3.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 25 of 44

          Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 25 of 44
       Unlike in that case, many (if not all) of the factors requiring application of the

major question doctrine are satisfied here. First, as discussed below, the creation of tribal

territorial jurisdiction is of vast economic and political significance to the State. The

Secretary claims authority to redraw Alaska’s jurisdictional map, creating territorial

jurisdiction for Alaska tribes where none currently exists. Second, the agency itself has

long questioned its authority. As the Fourth Circuit recognized in Captain Gaston, the

“[agency’s] own lack of confidence that it has this authority . . . suggests that this is a

major-questions case.”74 Third, Congress has developed a “distinct regulatory scheme”

through subsequent legislative acts that all conflict with the system the Secretary now

seeks to create.

       A holding that limits the major question doctrine to nationwide issues ignores the

consensus that Alaska is “often the exception, not the rule.” 75 Let’s assume for the sake

of argument that the system created by ANCSA applied nationwide. So over 50 years

ago Congress revoked all reservations throughout the country, except for one, and




74
       76 F.4th at 299 (citing W. Virginia, 142 S. Ct. at 2610 (“ ‘[J]ust as established
practice may shed light on the extent of power conveyed by general statutory language,
so the want of assertion of power by those who presumably would be alert to exercise it,
is equally significant in determining whether such power was actually conferred.’ ”
(quoting FTC v. Bunte Bros., Inc., 312 U.S. 349, 353 (1941)).
75
       See Yellen v. Confederated Tribes of the Chehalis Rsrv., 141 S. Ct. 2434, 2439
(2021) (“The ‘simple truth’ reflected in those prior cases is that ‘Alaska is often the
exception, not the rule.’” (quoting Sturgeon vs. Frost, 577 U.S. 424, 440 (2016)
(Sturgeon I) (“All those Alaska-specific provisions reflect the simple truth that Alaska is
often the exception, not the rule.”)); see also Sturgeon vs. Frost, 139 S. Ct. 1066, 1078-
79 (2019) (Sturgeon II) (same).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 26 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 26 of 44
created a system of regional native corporations and village native corporations. And

then 50 years later—after years of claiming that it did not have this authority and

numerous subsequent congressional enactments occurring with that representation

looming in the background—Interior made the same move as it does here and started

granting tribes territorial jurisdiction throughout the United States. That undoubtedly

would be a major question. And if an action is a major question if it happened

nationwide, then it is a major question if it happens within only one state. Otherwise,

courts would undermine the importance of Congress—in states such as Alaska—

creating exceptions to the general rule.

        The major question doctrine can apply to state-specific rules, and it applies in this

case.

        E.     Granting tribes territorial jurisdiction is a decision with significant
               economic and political consequences.

        The Secretary’s decision is economically and politically significant in Alaska

because the Secretary purports to have the legal authority to grant each of Alaska’s 227

federally recognized tribes Indian country with territorial jurisdiction. That emphasis on

territorial jurisdiction is important.76


76
       Interior suggests the State has failed to clearly articulate any concerns it has about
the impacts of territorial jurisdiction. [Interior’s Br., at 37] Those concerns go without
saying; the basic point is that Interior (not Congress) is granting Alaska tribes
jurisdiction when none currently exists. An example of the consequences of this can be
found in environmental regulations, where several statutes allow federal agencies to treat
tribes with territorial jurisdiction as if they are states. See, e.g., 42 U.S.C. § 7601(d)
(providing that, in the Clean Air context, the EPA may treat Indian tribes like they are


State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 27 of 44

        Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 27 of 44
       Prior to the Secretary’s action here, the only tribe with territorial jurisdiction was

Metlakatla Indian Community.77 While the State acknowledged that Interior’s creation

of tribal trust land and a reservation here likely qualifies as “Indian country,” it did not

concede that the estimated 4 to 6 million acres of Native allotments and Native townsites

to individuals in Alaska are “Indian country.” [See State’s Br., at 16; Interior Br., at 17]

And it certainly never conceded that tribes have territorial jurisdiction over those

allotments. The Tribe and Interior know the State’s position—and the limitations of their

own argument—having recently litigated this very issue in the District Court for the

District of Columbia and the National Indian Gaming Commission respectfully. 78

       The question in each of those two cases were the same—the Native Village of

Eklutna in the federal court case and Tlingit and Haida in the administrative matter—

both sought an “Indian lands” determination under the Indian Gaming Regulatory Act

(IGRA).79 The Tribes each sought approval to engage in gambling on Native allotments

owned by their respective members and the question was whether Alaska Native




states if, among other things, the functions to be exercised pertain to management of air
resources within the exterior boundaries “of the reservation or other areas within the
tribe’s jurisdiction”); 42 U.S.C. § 300j-11 (allowing tribes to be treated as states under
the Safe Drinking Water Act if, among other things, “the functions to be exercised by
the Indian Tribe are within the area of the Tribal Government’s jurisdiction”).
77
       Eklutna, 2021 WL 4306110, at *5.
78
        See id.; see also NIGC Decision, available at:
https://www.nigc.gov/images/uploads/final-
decisions/NIGCCommissionDecisionCCTHITA2252021.pdf
79
       Pub. L. No. 100-497, 102 Stat. 2467 (1988) (codified at 25 U.S.C. § 2701 et seq.).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 28 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 28 of 44
allotments qualify as “Indian lands” under IGRA. 80 Because the Native allotments were

not located within a reservation, the Tribes had to show that they “exercise[]

governmental power” over the parcel. 81

       Both the district court and the National Indian Gaming Commission reached the

same conclusion—Alaska tribes do not exercise territorial jurisdiction over Native

allotments.82 Although they recognized the general rule regarding tribes’ authority in

Indian country, they also acknowledged that they must consider the “specific facts and

law applicable to the particular situation to determine whether Congress has acted to

alter” that general rule.83 And “[i]n the case of Alaska Native Allotments . . . , Congress

created ‘an exception to the general rule that the territorial basis for tribal authority

coincides with the federal Indian country status of the lands.” 84 Indeed, the Alaska

Supreme Court has similarly concluded that Alaska tribes are “unlike most other tribes”

and “for the most part possess no Indian country,” such that while tribes have

jurisdiction over their members, that jurisdiction is “non-territorial.” 85


80
       Eklutna, 2021 WL 4306110, at *1; NIGC Decision, at 3.
81
      Eklutna, 2021 WL 4306110, at *4 (discussing 25 U.S.C. § 2703(4)); NIGC
Decision, at 3 (discussing 25 C.F.R. § 502.12(b)).
82
       Eklutna, 2021 WL 4306110, at *5-6; NIGC Decision, at 7-10.
83
        Id.; see also NIGC Decision, at 8 (“While Indian Country status provides the
statutory basis for the exercise of federal jurisdiction it does not necessarily follow that
all Indian allotments are subject to tribal jurisdiction. . . . The analysis for tribal
jurisdiction rests on Congressional intent.”).
84
      Eklutna, 2021 WL 4306110, at *6 (quoting Sansonetti Opinion, at 124
[AR 1050]).
85
       John v. Baker, 982 P.2d 738, 748, 750, 755 (Alaska 1999).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 29 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 29 of 44
       To determine Congress’s intent, the district court and the Commission reviewed

the Alaska Native Allotment Act, ANCSA, and the 1993 Solicitor Opinion authored by

Thomas Sansonetti. [See AR 927-1062] They both concluded that Sansonetti “correctly”

relied on the differences between Alaska Native Allotments and Lower 48 Native

Allotments to conclude tribes lack jurisdiction—those differences being (1) tribal

membership was not required to receive an allotment in Alaska, (2) allotments in Alaska

were not carved out of reservations, and (3) Congress expressly referred to Alaska

allotments as “homesteads.”86

       The district court also relied heavily on ANCSA, agreeing with Sansonetti that

ANCSA “‘largely controls in determining whether’” Alaska Native tribes exercise

jurisdiction over Alaska lands.87 The court acknowledged that the “Act’s text does not

explicitly address tribal government authority,” but it held that “its distribution of land in

particular tenure to particular parties has legal significance in determining the scope of

tribal governmental authority.”88 The court also rejected the argument that the Tribe

makes here—that ANCSA was merely a land claims settlement. [See Tribe’s Br. at 10]



86
        Eklutna, 2021 WL 4306110, at *6 (discussing Sansonetti Opinion, at 128-29
[AS 1054-55]); see NIGC Decision, at 9-10; see also id. at 17 (noting that the Sansonetti
Opinion has not been repealed and is controlling on Interior). The same reasoning
applies to Native townsites in Alaska. Like Native Allotments, townsite lots were
deeded to the occupant, conveying full title, and post-ANCSA, tribes did not exercise
territorial jurisdiction within their boundaries. [See AR 1055-56]
87
      Eklutna, 2021 WL 4306110, at *6 (quoting Sansonetti Opinion, at 132
[AR 1058]).
88
       Id.

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 30 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 30 of 44
The court concluded that it was “incorrect” to say “that [ANCSA] simply resolved

‘disputed aboriginal land claims’ and played no role in defining the extent of territorial

jurisdiction” in Alaska.89

       These cases demonstrate the significance of the Secretary’s decision here and

disprove any claim that this case is “unremarkable” because millions of acres of

restricted fee lands—most of it owned by individuals—already exist in Alaska. [See

Tribe’s Br., at 10; Interior’s Br., at 17] To use the Tribe’s words, the truth—not the

myth—is that excluding the Annette Islands Reserve, at most there are only 33 acres of

Alaska tribes’ lands held in trust by the United States. 90 The acreage comprises three

parcels (a total of 32 acres) over which the Secretary purported to exercise his section 5

authority prior to ANCSA—Angoon (13.4 acres), Kake (15.9 acres), and Klawock (1.91

acres).91 [AR 1039 n.277]. The last acre is owned by the Craig Tribal Association and

was placed into trust in 2017.92 Thirty-three acres of arguable tribal territorial

jurisdiction is a far cry from the millions of acres of tribal territorial jurisdiction that

Interior and the Tribe claim already exists.


89
       Id.
90
       By “territorial jurisdiction,” the State is not referring to the special jurisdiction
granted by Congress in VAWA 2022.
91
       Sansonetti Opinion, p. 112, fn. 277 [AR 1038]. Tribal jurisdiction over these
parcels is arguable because Congress simply neglected to consider them when it passed
ANCSA. See Scherer, K., Alaska’s Tribal Trust Lands: A Forgotten History, 38 Alaska
L. Rev. 37, 27 (2021).
92
        The State’s decision not to challenge the trust acquisition of the Craig parcel in no
way undermines its legal arguments. One state administration’s policy decision does not
ratify and forever bless a federal agency’s decision to exceed its statutory authority.

State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 31 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 31 of 44
       The absence of Alaska tribes holding territorial jurisdiction is one of the reasons

why the Assistant Secretary approved the Tribe’s application. He reasoned that, by

placing these lands into trust (and then creating a reservation), the Tribe “can exercise

tribal authority over such land consistent with how Indian tribes exercise authority over

trust lands in the Lower 48 states.” [AR 8]

       The consequences of the Secretary’s claim of authority extend beyond the

787 square foot parcel at issue in this case. There are 227 federally recognized tribes in

Alaska.93 Nearly all of them lack territorial jurisdiction. The Secretary now claims

authority to create territorial jurisdiction for each of these Tribes; thus 227 separate and

distinct jurisdictional enclaves. Even with a state the size of Alaska, the idea of

227 distinct jurisdictional areas in a single state is staggering. There are 574 federally

recognized tribes in the entire United States; 39.5 percent of all federally recognized

tribes are in Alaska.94 There are 326 reservations in the entire United States. 95 In

comparison, the State of Montana has seven Indian reservations. 96 The State of


93
       Indian Entities Recognized by and Eligible to Receive Services from the United
States Bureau of Indian Affairs, 88 Fed. Reg. 2115-16 (January 12, 2023).
94
       Id; see also Administration for Native Americans, “American Indians and Alaska
Natives – By the Numbers,” available at: https://www.acf.hhs.gov/ana/fact-
sheet/american-indians-and-alaska-natives-numbers (accessed on November 22, 2023).
95
        BIA.gov, “What is a federal Indian reservation?;” available at:
https://www.bia.gov/faqs/what-federal-indian-
reservation#:~:text=There%20are%20approximately%20326%20Indian,%2C%20comm
unities%2C%20etc. (accessed on November 22, 2023).
96
        State of Montana, “The Seven Indian Reservations of Montana,” available at:
https://opi.mt.gov/Portals/182/Page%20Files/Indian%20Education/Social%20Studies/3-
5/Seven%20Reservations%20-%20G3.pdf. (accessed on November 22, 2023).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 32 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 32 of 44
Washington has 29 federally recognized tribes and 29 reservations. 97 If the Secretary is

correct, she has authority to, despite ANCSA, create 227 territorial jurisdictions (and

thus reservations) in Alaska. And the Secretary asserts the agency could have taken this

action the day after President Nixon signed ANCSA into law.

       Administering such a sweeping change of territorial jurisdiction is a major

question that requires Congressional action. As evidenced by the special jurisdiction

granted Alaska tribes by VAWA 2022, Congress is aware of the territorial limitations of

Alaskan tribes and addresses those issues in ways that are unique to the circumstances in

Alaska.

II.    ANCSA is unique and cannot be compared to other settlement acts.

       No other settlement act is like ANCSA. It is unique because of: (1) the history

that led Congress to enact ANCSA; (2) the clear statements from Congress that it

wanted to avoid creating a reservation system or lengthy wardship or trusteeship; (3) the

congressional action to revoke all but one reservation in the state; (4) the clear

statements from Interior post-settlement that it lacked section 5 lands-into-trust-

authority; and (5) post-settlement congressional actions that ratified the agency’s

original position. Interior’s reliance on the settlement acts in Rhode Island and




97
        State of Washington, “Washington Tribes,” available at:
https://www.ltgov.wa.gov/washington-
tribes#:~:text=Washington%20counts%2029%20federally%20recognized,on%20reserva
tions%20throughout%20the%20state. (accessed on November 22, 2023).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 33 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 33 of 44
Connecticut, and the cases interpreting them, is therefore misplaced. [Interior Br., at 21-

22]

       This Court should not, as Interior urges, apply the First Circuit’s interpretation of

the Rhode Island Indian Claims Settlement Act to ANCSA. 98 The First Circuit held that

although that settlement act extinguished aboriginal title, it did not preclude a tribe from

later acquiring territorial jurisdiction by placing lands into trust. 99 [See Interior Br., at 28

(citing 25 U.S.C. §§ 1705(a)(2), 1712(a)(2))] The comparison fails because the language

of the acts is different, evincing Congress’s different intent in different circumstances.

       ANCSA’s extinguishment of aboriginal claims was much broader than the Rhode

Island settlement, and Congress in ANCSA expressly stated an intent to not maintain a

lengthy wardship like it had in the Lower 48 and revoked all reservations (save for one).

The provisions in the Rhode Island settlement provide that, to the extent that any transfer

of land or natural resources may involve land or natural resources to which Indian tribes

had aboriginal title, then that transfer “shall be regarded as an extinguishment of

aboriginal title as of the date of said transfer.” 100 That does not compare to the broad

extinguishment language in ANCSA, where sections 4(b) and 4(c) extinguish (1) all

aboriginal titles; (2) all claims of aboriginal title based on use and occupancy, and (3) all



98
      See Rhode Island Settlement Act, 92 Stat. 813 (Sept. 30, 1978) (codified at
25 U.S.C. §§ 1701-16).
99
       Carcieri v. Kempthorne, 497 F.3d 15, 35-36 (1st Cir. 2007), rev’d sub nom. on
other grounds, Carcieri v. Salazar, 555 U.S. 379 (2009).
100
       25 U.S.C. § 1705(a)(2); 25 U.S.C. § 1712(a)(2).

State of Alaska v. Newland, et al.                     Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                  Page 34 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 34 of 44
claims against the United States, the State, and all other persons based on aboriginal

title.101 Those provisions, coupled with 16 U.S.C. § 1601(a)—a declaration from

Congress that it wanted a fair and just settlement of “all claims by Natives and Native

groups of Alaska, based on aboriginal land claims”—has led the Ninth Circuit to hold

that ANCSA “extinguished not only the aboriginal titles of all Alaska Natives, but also

every claim ‘based on’ aboriginal title in the sense that the past or present existence of

aboriginal title is an element of the claim.” 102

       Interior suggests that ANCSA’s extinguishment clause does not apply because the

Tribe has not made a “claim” based on aboriginal title. [Interior’s Br., at 26 (“A petition

to have land taken into trust is not a ‘claim.’”)] But Interior takes too narrow of a view.

True, when the Secretary has authority to take lands into trust, she has a certain amount

of discretion to act. But that discretion is not unbounded.

       Section 5 allows the Secretary to take lands into trust “for the purpose of

providing land for Indians.” [AR 3306 (now codified at 25 U.S.C. § 5105)] The Eighth

Circuit has held that the Secretary’s discretion must be guided by this principle, which is

meant to “provid[e] lands sufficient to enable Indians to achieve self-support and

ameliorat[e] the damage resulting from the prior allotment policy.” 103 Here, the Assistant

Secretary exercised his discretion because he believed he needed to restore the Tribe’s



101
       43 U.S.C. § 1603(b) & (c).
102
       United States v. Atlantic Richfield Co, 612 F.2d 1132, 1135 (9th Cir. 1980).
103
       South Dakota v. U.S. Dep’t of Interior, 423 F.3d 790, 799 (8th Cir. 2005).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 35 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 35 of 44
“traditional homelands”—i.e., “their traditional and cultural homeland since time

immemorial.” [AR 11; see also AR 6 (“The Tribe states that the Property is uniquely

situated to meet its need to regain land that it previously lost and to consolidate existing

tribal landholdings.”)] In other words, the Tribe’s “claim”—the reason for granting this

application—is based on the need to regain, and restore its sovereign authority over, the

land to which it had once claimed aboriginal title. [See AR 6] Such claims were

expressly extinguished by ANCSA. 104

       Similarly, the Connecticut Settlement Act—also known as the Mashantucket

Pequot Indian Claims Settlement Act—had provisions that make it incomparable to

ANCSA. This Act specifically contemplated the continued existence of reservations and

the Secretary having authority to take additional lands into trust to expand those

reservations.105 When considering the Secretary’s authority to take non-settlement lands

into trust, the Second Circuit relied on legislative history that supported the Secretary

exercising her authority in that context. 106 Here, however, the legislative history of

ANCSA supports the opposite. [See State’s Br., at 17-20, 24-28 (discussing testimony of

Alaska Natives opposing reservation model)]



104
       43 U.S.C. § 1603.
105
       Mashantucket Pequot Indian Claims Settlement Act, 97 Stat. 851 (Oct. 18, 1983)
(codified at 25 U.S.C. §§ 1751-60); see also Connecticut ex rel. Blumenthal v. U.S.
Dep’t of Interior, 228 F.3d 82, 87 (2d. Cir. 2000) (explaining that Congress defined the
reservation and provided a mechanism whereby the tribe could add property to its
reservation).
106
       Blumenthal, 228 F.3d at 85-94.

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 36 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 36 of 44
       For those reasons, neither the Connecticut Settlement Act nor the Rhode Island

Settlement Act, or the cases interpreting those acts, are relevant to this Court’s

interpretation of ANCSA or the post-ANCSA amendments.

III.   Congress’ clarification that indigenous peoples of Alaska are “Indian” is not
       a standalone definition.

       Section 19 defines “Indian” as falling into one of three categories and then goes

on to clarify that indigenous people in Alaska are ethnographically “Indian.” After that,

the section defines “tribe” and “adult Indian.” To understand how Congress meant to

define Indian, it is helpful to read the section in full:

       The term “Indian” as used in this Act shall include all persons of Indian
       descent who are members of any recognized Indian tribe now under
       Federal jurisdiction, and all persons who are descendants of such members
       who were, on June 1, 1934, residing within the present boundaries of any
       Indian reservation, and shall further include all other persons of one-half or
       more Indian blood. For purposes of this Act, Eskimos and other aboriginal
       peoples of Alaska shall be considered Indians. The term “tribe” wherever
       used in this Act shall be construed to refer to any Indian tribe, organized
       band, pueblo, or the Indians residing on one reservation. The words “adult
       Indians” wherever used in this Act shall be construed to refer to Indians
       who have attained the age of twenty-one years. [AR 3325] 107

       The State does not, as Interior asserts, concede that all people with Alaska Native

ancestry are “Indian” for the purpose of the IRA. [Interior Br., at 25-26] Rather, the

State recognizes the practical reality that it is very unlikely that any tribe or Alaska

Native could meet the first two categories of “Indian” in section 19. The third category,

however, applies to individual people of indigenous descent depending on blood



107
       25 U.S.C. § 5129.

State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 37 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 37 of 44
quantum. [State’s Br., at 50-55] As Felix Cohen put it, the first category is about “tribal

affiliation” (of a tribe recognized and under federal jurisdiction in 1934), the second

category pertains to “tribal descent plus residence on a reservation” (e.g., a child of a

tribal member who is living on a reservation but who is not herself a member), and the

third category is the “half-blood test.” [AR 4427]

       The State’s point is that the sentence about Alaska in section 19 was inserted for

the purpose of clarifying that indigenous peoples in Alaska, like indigenous peoples in

the Lower 48 are ethnographically “Indian.” This is unlike, for instance, indigenous

peoples of Hawaii who are not considered “Indian” for the purpose of the IRA and other

federal Indian laws.108 Understanding the ethnographical context—that there was still

debate in the early 20th century about whether all, some, or none of the different

indigenous groups of Alaska were ethnographically “Indian”—is helpful to

understanding why Congress felt it needed to add this clarifying sentence and why it is

not surplusage. [State’s Br., at 54-55; Interior Br., at 30] This is what Felix Cohen

believed at the time. [AR 4427; see also State’s Br., at 53] This is also what Secretary

Ickes believed at the time too—that this clarification brought Alaska Indians and

Eskimos “fully within the terms of the Act.” (i.e., so they were on the same footing as

Lower 48 Indians). [Interior Br., at 30 (citing AR 64–65)] The contextual understanding




108
       Kahawaiolaa v. Norton, 386 F.3d 1271, 1274, 1280-83 (9th Cir. 2004)
(discussing how Congress treats indigenous peoples of Hawaii differently than those in
Alaska and the Lower 48).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 38 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 38 of 44
is helpful, but it is not critical. The textual definition itself is clear and simply cannot

bear Interior and the Tribe’s interpretation.

       Under Interior and the Tribe’s interpretation, any person of indigenous descent in

Alaska, no matter the percentage of “Indian blood,” is entitled to the benefits of the IRA.

[Interior Br., at 28-31; Tribe Br., at 21-22] They take this position even though the Act

disentitles benefits for people in the Lower 48 who have less than one-half “Indian

blood.” [AR 3325] Let’s say that there is an individual in Alaska whose grandmother

was Inupiaq, whose other grandparents are not of indigenous heritage, and who is not a

member of a tribe in Alaska. Under Interior’s interpretation, that person is an “Indian”

under the IRA and is entitled to any benefit the IRA affords individual Indians, such as

Interior’s hiring preference. But, a person whose grandmother was Chippewa, whose

other grandparents are not of indigenous roots, and who is not a member of any tribe is

not entitled to such benefits. This makes no sense, especially when considering why the

IRA was passed.

       The State agrees with Interior that the IRA was remedial in nature [Interior Br., at

30], but that does not help its argument because the Act was not remedial as applied in

Alaska.109 In Alaska, there was not an allotment policy to remediate. Interior points out

that the Indian boarding school era did not escape Alaska. [Interior Br., at 3] But the

IRA was not passed in response to boarding schools, a shameful legacy that did not end


109
       Yellen, 141 S.Ct. at 2438; Metlakatla Indian Community v. Egan, 369 U.S. 45,
50-51 (1962) (noting that Alaska tribes differed from Lower 48 tribes as far as
reservations and various allotment issues).

State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 39 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 39 of 44
until decades after the passage of the IRA and a legacy the federal government has only

recently been grappling with. Rather, the Act’s land provisions were passed to undo

breaking up reservations in the Lower 48—which did not happen in Alaska—and to

“provide for the acquisition, through purchase, of land for Indians, now landless.” 110 The

trust land provisions apply in Alaska on the same terms they apply in the Lower 48.

Interior asks this Court to adopt a reading of the statute that gives more benefits to

Indians in Alaska than in the Lower 48.

       Interior is also correct when it asserts that if the sentence clarifying that

indigenous Alaskans are considered Indians in the same way Lower 48 Indians are, then

“a tribe in Alaska must also meet one of the first three definitions.” [Interior Br., at 30]

That is precisely the point. And Interior did not analyze whether the Tribe met any of the

three independent criteria.

       If the Court rules in the State’s favor, the Tribe could seek a determination from

Interior that it meets the first of the three definitions because it is recognized now and

was under federal jurisdiction in 1934. But that is not a question for this Court. That




110
       S. Rep. 1080, 73d Cong. 2d Sess. (May 10, 1934).

State of Alaska v. Newland, et al.                   Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                Page 40 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 40 of 44
involves both legal111 and factual112 disputes and would be a question for Interior in the

first instance.

       Assuming most tribes in Alaska could not meet the definition of “tribe” in the

IRA, that does not make Section 5 a nullity. [Interior Br., at 19] Section 5 still permits

the Secretary to take land into trust for individual “Indians.” Congress created this

provision “for the purpose of providing land for Indians.” 113 It does not say for the

purpose of providing lands for Indian tribes. Rather, it says for “Indians,” and Congress

provided that land could be taken into trust “for the Indian tribe or individual Indian for

which the land is acquired.”114

       In addition to making section 5 trust land’s provision applicable to individual

Indians in Alaska, the 1936 Congress extended three provisions of the IRA—the

authority to create constitutions (section 16), incorporate as businesses (section 17), and

receive federal funding (section 10)—to groups of Indians not yet recognized in 1936 as



111
        One legal dispute, which the State alluded to in a footnote in its motion for
summary judgment, is whether the term “now” applies to both “recognized” and “under
federal jurisdiction.” [State’s Br., at 51 n.162] Notwithstanding the Ninth Circuit’s
ruling that “now” applies only to “under federal jurisdiction,” and not also “recognized,”
County of Amador v. U.S. Dep’t of the Interior, 872 F.3d 1012, 1022 (9th Cir. 2017), the
State may make this argument to Interior on remand. Interior has offered conflicting
opinions on this issue within the past eight years. [State’s Br., at 51 n.162] Another legal
dispute is whether “now” refers to when the IRA was passed in 1934 or when the Alaska
IRA was passed in 1936.
112
        The factual dispute is whether the Central Council was under federal jurisdiction
at the relevant time.
113
       25 U.S.C. § 5108.
114
       Id. (emphasis added).

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 41 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 41 of 44
tribes. [AR 3306] But, contrary to the Tribe’s argument otherwise [Interior Br., at 20],

Congress did not make all the other newly incorporated IRA provisions applicable to

these not yet recognized groups. And the Supreme Court’s brief citation to the Alaska

IRA in a footnote in Carcieri, as an example of how Congress sometimes expanded the

definition of Indian tribe for certain purposes, is dicta and does not resolve the

arguments presented here anyway.115 [See Tribe’s Br., at 20].

       The sentence clarifying that indigenous peoples of Alaska, whether they are of

Eskimo or other ethnographical descent, are “Indian” in the same way Lower 48

indigenous peoples are Indian, is not a standalone definition. Because there is no

ambiguity, neither the Indian canon nor deference to the agency applies. 116 Plus,

Chevron deference does not apply to Solicitor Opinions. 117 And Skidmore deference is

similarly misplaced for the same reasons discussed in the states’ amici briefs asking the

U.S. Supreme Court to overrule the Chevron doctrine.118 The reasons for overruling the

Chevron doctrine are particularly evident here, where the agency’s interpretation is

based on a Solicitor’s Opinion that was drafted by someone who once advocated on


115
       See also AR 184.
116
       See Carcieri v. Salazar, 555 U.S. 379 (2009) (declining to apply the Indian
canons having concluded the IRA was unambiguous); South Carolina v. Catawba
Indian Tribe, Inc., 476 U.S. 498, 506 (1986) (“The canon of construction regarding the
resolution of ambiguities in favor of Indians, however, does not permit reliance on
ambiguities that do not exist; nor does it permit disregard of the clearly expressed intent
of Congress.”).
117
       Christensen v. Harris Cnty., 529 U.S. 576, 587 (2000).
118
        See Brief of Amici Curiae State of West Virginia and 26 other States in Support
of Petitioners, Loper Bright Enters. v. Raimondo, No. 22-451.

State of Alaska v. Newland, et al.                  Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                               Page 42 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 42 of 44
behalf of Alaska tribes on this very issue. Statutory interpretation is not a question of

what the current executive branch wants a statute to mean, depending on current politics,

but rather what the legislating Congress intending the law to mean. The Tribe must

therefore satisfy the entire definition of “Indian” found in section 19 of the IRA.

                                       CONCLUSION

         For the foregoing reasons, the State respectfully requests that the Court grant its

motion for summary judgment and deny the cross-motions filed by Interior and the

Tribe.

         DATED: December 1, 2023.
                                             TREG TAYLOR
                                             ATTORNEY GENERAL

                                             By: /s/ Jessie M. Alloway
                                                 Jessica M. Alloway
                                                 Assistant Attorney General
                                                 Alaska Bar No. 1205045
                                                 Email: jessie.alloway@alaska.gov

                                             By:    /s/ Christopher F. Orman
                                                    Christopher F. Orman
                                                    Assistant Attorney General
                                                    Alaska Bar No. 1011099
                                                    Email: christopher.orman@alaska.gov

                                                    Attorneys for the State of Alaska

CERTIFICATE OF SERVICE
I hereby certify that on December 1, 2023, I electronically filed the foregoing by using
the CM/ECF system. Participants in the case who are registered CM/ECF users will be
served by the CM/ECF system.

/s/ Angela Hobbs
Angela Hobbs
Law Office Assistant III


State of Alaska v. Newland, et al.                    Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                                 Page 43 of 44

         Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 43 of 44
CERTIFICATE OF WORD COUNT
I certify that this document complies with Local Rule 7.4(a)(1) because it contains 9,549
words.




State of Alaska v. Newland, et al.                Civil Action No.: 3:23-cv-00007-SLG
Combined Opposition and Reply                                             Page 44 of 44

       Case 3:23-cv-00007-SLG Document 25 Filed 12/01/23 Page 44 of 44
